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 1                                    UNITED STATES DISTRICT COURT

 2                                 NORTHERN DISTRICT OF CALIFORNIA

 3

 4                                            ,           Case No.
                      Plaintiff(s),
 5
                                                          APPLICATION FOR ADMISSION OF
                 v.                                       ATTORNEY PRO HAC VICE
 6
                                                          (CIVIL LOCAL RULE 11-3)
 7                                            ,
                      Defendant(s).
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10          I,                              , an active member in good standing of the bar of

11                                          , hereby respectfully apply for admission to practice pro hac

12   vice in the Northern District of California representing:                                    in the

13   above-entitled action. My local co-counsel in this case is                                   , an

14   attorney who is a member of the bar of this Court in good standing and who maintains an office

15   within the State of California. Local co-

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17    MY ADDRESS OF RECORD                                 LOCAL CO-COUNSEL S ADDRESS OF RECORD

18
      MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL S TELEPHONE # OF RECORD
19

20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL S EMAIL ADDRESS OF RECORD

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22          I am an active member in good standing of a United States Court or of the highest court of
23   another State or the District of Columbia, as indicated above; my bar number is:                      .
24          A true and correct copy of a certificate of good standing or equivalent official document
25   from said bar is attached to this application.
26          I have been granted pro hac vice admission by the Court _______ times in the 12 months
27   preceding this application.
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 1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

 2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

 3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

 4   Dated:
                                                                   APPLICANT
 5

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 8                                   ORDER GRANTING APPLICATION

 9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

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11            IT IS HEREBY ORDERED THAT the application of                                         is

12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney

13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

14   counsel designated in the application will constitute notice to the party.

15   Dated:

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                                                UNITED STATES DISTRICT/MAGISTRATE JUDGE
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     Updated 11/2021                                   2
